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                         UNITED STATES DISTRICT COURT
                                 District of Kansas
                               (Kansas City Docket)

UNITED STATES OF AMERICA,

            Plaintiff,

      v.                                    CASE NO. 10-20077-JWL-2

SAMUEL BARAJAS,
  a.k.a. “Sammy,”

            Defendant.


              GOVERNMENT’S RESPONSE TO DEFENDANT’S
                  MOTION FOR RECONSIDERATION
                            (Doc. 241)


      The United States of America, by and through Assistant United States

Attorney Carrie N. Capwell, opposes the defendant Samuel Barajas’s pro se motion

for reconsideration (Doc. 241) of the Court’s Order (Doc. 239) denying his motion

for compassionate release (Doc. 232).

I.    Procedural History

      A more detailed procedural history is set forth in the government’s response

to the defendant’s motion for compassionate release. Doc. 237. For purposes of this

response, the government focuses on the procedural history of the defendant’s

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motion for compassionate release.

      On December 28, 2021, the defendant filed a motion for compassionate

release, pursuant to 18 U.S.C. § 3582(c)(1)(A), seeking immediate release. Doc. 232

at 3-5. His proposed release plan was to live in a small house in Michoacan, Mexico

with family. Doc. 234. Defendant submitted that four extraordinary and compelling

reasons existed warranting his immediate release: (1) his sentence of 360 months’

imprisonment is unusually long; (2) his life sentence was reduced to 360 months’

imprisonment pursuant to Amendment 782; (3) he has a “remarkable record of

rehabilitation,” which shows that he is not a danger to the public; and (4) his sentence

is grossly disproportionate to the crimes he committed. Doc. 232 at 5.

      In his reply to the government’s response to his motion for compassionate

release, the defendant noted that district courts have held that “the COVID-19

pandemic constitutes an extraordinary and compelling reason for release.” Doc. 238

at 1. He further stated that “COVID-19 presents a still-greater extraordinary and

compelling reason for release when a defendant’s prison is battling a bona fide

outbreak.” Id. Appendix A to his reply brief consisted of five pages of citations and

facts for cases in which district courts granted compassionate release based on

COVID-19. Doc. 238-1.

      Specific to him, the defendant noted that “[a]s outlined below, Mr. Barajas

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has several prescriptions for his medical conditions that increase his risk of severe

illness should he contract the virus.” Doc. 238 at 2. However, the defendant did not

explain what his medical conditions are, which prescriptions he is taking, and how

his medical conditions increase his risk of severe illness should he contract the

COVID-19 virus. Id.

      Defendant repeated his arguments that release was justified because he

received an excessive 30-year sentence, id. at 4, had shown substantial rehabilitation,

id. at 5, and the Section 3553(a) factors supported compassionate release in his case,

id. at 6-7. The defendant also noted that he had provided information regarding his

release plan, would provide additional information upon request, and that he would

mostly likely be deported upon release. Id. at 8.

      On March 10, 2022, the Court denied the defendant’s request for

compassionate release, finding that “defendant has not come forward with

extraordinary and compelling reasons sufficient to warrant a reduction in his

sentence.” Doc. 239 at 2. As to defendant’s claim that his sentence is excessive, the

Court explained, “Defendant has not identified any circumstances about his

sentence, unique to him, that warrant a reduction in his sentence.” Id. at 3. The Court

considered and rejected the defendant’s argument that his rehabilitation while in

prison merited a sentence reduction. Id. at 3-4. The Court acknowledged that the

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defendant referenced several district court cases granting compassionate release for

reasons associated with the COVID-19 pandemic, but noted that defendant made

“no argument that he should be released based on COVID-19[.]” Id. at 2 n.2. The

Court further declined to consider such an argument, even if defendant had made

one in his reply brief, because the defendant did not raise that argument in his

motion. Id.

      On April 15, 2022, the Clerk’s Office docketed the defendant’s motion for

reconsideration of the court’s denial of his motion for compassionate release. Doc.

241; see also Doc. 241-1 (Envelope stamped “MON 11 APR 2022PM” and

“RECEIVED APR 15 2022” by the Clerk’s Office). The certificate of service, in

which the defendant certified that he deposited the motion with prison officials for

mailing, is dated April 1, 2022.

      Defendant argued that in his original motion he “sought to request release on

COVID-19.” Doc. 241 at 1. He quoted a Los Angeles Times article for the

proposition that risk posed by the COVID-19 BA.2 variant “is imminent.” Id. at 2.

He again referenced dozens of district court cases holding that COVID-19 amounts

to an extraordinary and compelling reason for sentence reduction or immediate

release. Id. at 2-9. However, the only connection he made to his specific situation

was repeating a statement he had previously made in his reply brief: “As outlined

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below, Mr. Barajas has several prescriptions for his medical conditions that increase

his risk of severe illness should he contract the virus.” Id. at 2-3. However, the

defendant provided no further argument or information regarding his medical

conditions, prescriptions, or how his medical conditions increase his risk of severe

illness should he contract the COVID-19 virus.

       The defendant repeated the arguments he made in his original motion

pertaining to an excessive sentence, rehabilitation, and the Section 3553(a) factors.

Id. at 9-11.

II.    Standard For Reconsideration

       A motion for reconsideration of a non-dispositive order must be filed within

14 days after the order is filed, and must be based on: “(1) an intervening change in

controlling law; (2) the availability of new evidence; or (3) the need to correct clear

error or prevent manifest injustice.” D. Kan. Local Rule 7.3(b). See also United

States v. Stanford, No. 11-10211-01-EFM, 2012 WL 1253278, at *1 (D. Kan. Apr.

13, 2012).

       “A motion to reconsider is only appropriate where the Court has obviously

misapprehended a party’s position, the facts or applicable law, or where the party

produces new evidence that it could not have obtained earlier through the exercise

of due diligence.” Skepnek v. Roper & Twardowsky, LLC, No. 11-4102, 2012 WL

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5907461, at *1 (D. Kan. Nov. 26, 2012) (citing D. Kan. 7.3(b)). A motion to

reconsider is not a second opportunity for the losing party to make its strongest case,

to rehash arguments, or to dress up arguments that previously failed. Id.; see also

Stanford, No. 11-10211-01-EFM, 2012 WL 1253278, at *1. The decision of whether

to grant or deny a motion for reconsideration is committed to the court’s discretion.

Hancock v. City of Oklahoma City, 857 F.2d 1394, 1395 (10th Cir. 1988).

III.   Argument

       A. The Defendant Does Not Establish That His Motion To Reconsider Is
          Timely

       As noted above, pursuant to Local Rule 7.3(b), a motion to reconsider a non-

dispositive motion must be filed within 14 days after the order is filed. Here, the

Court’s order was filed on March 10, 2022, and, according to the defendant’s

certificate of service, the defendant’s motion to reconsider was provided to prison

officials for mailing on April 1, 2022. Doc. 241 at 13. Under the prisoner mailbox

rule, an inmate’s pleading is deemed filed as of the date on which it is deposited into

the appropriate prison mailing system. See Hall v. Scott, 292 F.3d 1264, 1266 n.1

(10th Cir. 2002). However, the defendant does not state when he received the Court’s

order and thus fails to establish that he timely filed the motion within 14 days.

       B. There Is No Basis To Reconsider Defendant’s Motion

       Even if timely filed, the defendant’s motion for reconsideration is not based
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on an intervening change in controlling law, the availability of new evidence, or the

need to correct clear error or prevent manifest injustice. D. Kan. Local Rule 7.3(b).

The defendant does not explain why the Court should reconsider its earlier decision.

In fact, the defendant presents no new information for the Court to consider in his

motion for reconsideration. The defendant made the same arguments and presented

virtually the same information in his original motion for compassionate release and

reply to the government’s response. See Docs. 232, 238. There is no new evidence

or controlling law for the Court to consider.

      Moreover, the defendant does not argue that the Court clearly erred or

misapprehended the defendant’s arguments, or that failure to reconsider will result

in manifest injustice. Rather, the defendant rehashes prior arguments and references

the same district court cases he previously identified. Compare Docs. 232, 238, 238-

1, with Doc. 241. A motion to reconsider is not a second opportunity for the losing

party to rehash arguments. See Stanford, No. 11-10211-01-EFM, 2012 WL 1253278,

at *1. “Such motions are not appropriate if the movant only wants the Court to revisit

issues already addressed or to hear new arguments or supporting facts that could

have been presented originally.” Id.

      The Court considered and rejected all of the defendant’s arguments when it

denied his motion for compassionate release. The defendant presented no new facts

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or change in controlling law to support that the COVID-19 pandemic warrants his

immediate release from custody. And the Court’s rationale for declining to consider

such an argument (Doc. 239 at 2 n.2) was well within the Court’s discretion. Even

construing the defendant’s pro se motion for reconsideration liberally, see Dunn v.

White, 880 F.2d 1188, 1190 (10th Cir. 1989), there is no basis for the Court to

reconsider its decision denying the defendant’s motion for compassionate release.

IV.   Conclusion

      For the foregoing reasons, the Court should deny the defendant’s motion for

reconsideration of the Court’s order denying his motion for compassionate release.

                                      Respectfully submitted,

                                      DUSTON J. SLINKARD
                                      United States Attorney
                                      District of Kansas

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                         CERTIFICATE OF SERVICE

        I hereby certify that on this 6th day of May 2022, I electronically filed the
foregoing Response with the Clerk of the Court by using the CM/ECF system which
will send a notice of electronic filing to those attorneys who have entered their
appearance in the matter; and, that a true and correct copy of the same will be sent,
first class, postage prepaid, via the USPS to:

      Samuel Barajas
      Reg. No. 20607-031
      FCI Safford
      PO Box 9000
      Safford, AZ 85548

                                       s/Carrie N.Capwell              --------------
                                       Carrie N. Capwell




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